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                               UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER DEEMING MOOT
                                                  PLAINTIFF’S MOTION FOR
   Grubb v. Monsanto Co.,                         PARTIAL SUMMARY JUDGMENT
   Case No. 3:20-cv-09293-VC
                                                  Re: Dkt. No. 20081


       The above-captioned motion seeks judgment on Monsanto’s affirmative defenses.

Monsanto withdrew its affirmative defenses after the motion was filed, so the motion is deemed

moot. See Dkt. No. 20230. To the extent the motion seeks judgment on the issue of causation, the

motion is denied.

       IT IS SO ORDERED.

Dated: March 31, 2025
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge
